     Case 1:17-cv-00335-JAO-KJM Document 82 Filed 04/16/19 Page 1 of 2                                        PageID #: 686

+,'5HY6XPPRQVLQD&LYLO$FWLRQ


                                       81,7('67$7(6',675,&7&2857
                                                                   IRUWKH
                                                           District of Hawaii
                                                   BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    Venice PI, LLC. et al.
                                                                     
                                                                     
                              Plaintiff
                                                                     
                                   Y                                        &LYLO$FWLRQ1R 1:17-cv-335-JAO-KJM
                     STANISLAV AMELCHYTS et al.                      
                                                                     
                             Defendant
                                                                     


                                                   SUMMONS IN A CIVIL ACTION

7R(Defendant’s name and address) STANISLAV AMELCHYTS
                                          04136, Kyiv, 43-A Tyraspilska Str., Apt 39
                                          Ukraine




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

         :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RXQRWFRXQWLQJWKHGD\\RXUHFHLYHGLW²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3DRU²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Kerry S. Culpepper
                                          75-170 Hualalai Road
                                          Suite B204
                                          Kailua-Kona, HI 96740



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                               CLERK OF COURT


'DWH
                                                                                         Signature of Clerk or Deputy Clerk
      Case 1:17-cv-00335-JAO-KJM Document 82 Filed 04/16/19 Page 2 of 2                                           PageID #: 687
$25HY6XPPRQVLQD&LYLO$FWLRQ3DJH

 &LYLO$FWLRQ1R 1:17-cv-335-JAO-KJM

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                              RU

           u 2WKHU(specify):
                                                                                                                                           


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
